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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA


IN RE: PHILIPS RECALLED CPAP,                        Master Docket: No. 21-mc-1230-JFC
BI-LEVEL PAP, AND MECHANICAL
VENTILATOR PRODUCTS LIABILITY                        MDL No. 3014
LITIGATION

This Document Relates to:

All Personal Injury and Medical Monitoring
Cases


               JOINT MOTION FOR ENTRY OF A SCHEDULING ORDER
               SETTING AND/OR REVISING CERTAIN DEADLINES FOR
            THE PERSONAL INJURY AND MEDICAL MONITORING TRACKS

       Plaintiffs and Defendants, through their undersigned counsel, jointly move the Court to

enter the attached proposed scheduling order establishing the parties’ revised, agreed-upon

deadlines in the Personal Injury and Medical Monitoring tracks, and in support respectfully state

as follows:

       1.      The parties have discussed and reached agreement on discovery and case

management deadlines in the Personal Injury and Medical Monitoring tracks, as set forth in the

attached proposed scheduling order.

       2.      With respect to the Personal Injury track, the parties were directed by the Court at

prior Case Management Conferences to attempt to reach agreement on a proposed case

management schedule incorporating directions from the Court. The parties engaged in extensive

negotiations with the support and further direction of Special Master Katz. Accordingly, the

parties propose the agreed-upon deadlines to complete general causation fact and expert discovery,

and to file Rule 702 Daubert and dispositive motions on general causation, as set forth in the

attached proposed order.
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       3.     With respect to the Medical Monitoring track, the parties propose minor changes to

the previously submitted and approved Scheduling Order (ECF No. 1911) to align with the

proposed Personal Injury track deadlines.

       Accordingly, the parties jointly request that the Court enter the attached proposed

scheduling order setting certain agreed-upon deadlines in the Personal Injury and Medical

Monitoring tracks.



 Dated: November 7, 2023                          Respectfully Submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that on November 7, 2023, the foregoing document was electronically

filed with the Clerk of the Court on served upon counsel of record through the Court’s ECF

system.


                                                   /s/ John P. Lavelle, Jr.
                                                   John P. Lavelle, Jr.
